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 1                                  UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3                                       SAN FRANCISCO DIVISION
 4

 5   IN RE: JUUL LABS, INC., MARKETING,                 Case No. 19-md-02913-WHO
     SALES PRACTICES, AND PRODUCTS
 6   LIABILITY LITIGATION                               STIPULATION AND [PROPOSED]
                                                        ORDER TO AMEND SCHEDULE
 7
     This Document Relates to:                          Judge:    Hon. William H. Orrick
 8
     San Francisco Unified School District v. Juul
 9   Labs, Inc. et al., Case No. 3:19-cv-08177;
     Cheyenne and Arapaho Tribes of Oklahoma v.
10   Juul Labs, Inc. et al., Case No. 3:21-cv-05134.

11

12          The parties jointly stipulate and agree, subject to the Court’s approval, to amend certain deadlines

13   applicable in the above-captioned cases.

14          WHEREAS, on June 23, 2022, the FDA issued an order (the “PMTA Order”) stating that it had

15   “completed substantive scientific review of [JLI’s] PMTAs” and was “denying issuance of marketing

16   granted orders” for the products JLI had submitted for approval.

17          WHEREAS, JLI is pursuing an appeal of the PMTA Order.

18          WHEREAS the Court entered an order outlining pretrial deadlines in the Government Entity

19   bellwether litigation, including the bellwether case captioned San Francisco Unified School District v.

20   Juul Labs, Inc. et al., Case No. 3:19-cv-08177 on April 8, 2022. See Dkt. No. 3024 (adopting the

21   Government Entity Plaintiffs’ proposed schedule in Dkt. No. 3015-1).

22          WHEREAS the opposition to the motion to dismiss in the matter of Cheyenne and Arapaho Tribes

23   of Oklahoma v. Juul Labs, Inc. et al., Case No. 3:21-cv-05134, is currently due on July 7, 2022, and the

24   reply in support of the motion to dismiss is currently due on July 14, 2022.

25          WHEREAS the parties have met and conferred, and subject to the Court’s approval, Defendants

26   propose a revised schedule for the deadlines below, without altering the current trial date for the San

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 1   Francisco Unified School District case and without altering dates in the Cheyenne and Arapaho Tribes of
 2   Oklahoma case other than as specified below. Plaintiffs do not object.
 3             WHEREAS, subject to the Court’s approval, the parties state as follows:

 4             1.     Defendants propose a two-week extension of the following deadlines in the matter of San

 5   Francisco Unified School District v. Juul Labs, Inc. et al., Case No. 3:19-cv-08177. Plaintiffs do not
 6   object:
 7
                              Event                        Current Deadline              Revised deadline
 8
          Rebuttal reports to Dorn                                        July 28                   August 11
 9
          Close of expert discovery (Dorn)                             August 18                 September 1
10

11        MSJ and Daubert opening briefs                                August 1                    August 15
          (SFUSD only)
12
          MSJ and Daubert oppositions (SFUSD                           August 29                September 12
13        only)

14        MSJ and Daubert replies (SFUSD only)                     September 12                 September 26

15        MSJ/Daubert argument (SFUSD only)                        TBD by Court                    No change

16        Exchange of Civil Local Rule 16-                         September 26                    No change
          10(b)(7)-(10) materials
17
          Filing of Pretrial Conference Statement,          Opening: October 3                     No change
18        Jury Instructions, Exhibit                     Opposition: October 10
          List/Objections, Deposition                        Reply: October 17
19        Designations/Objections, Motions in
          limine
20
          Pre-trial Conference                                        October 24                   No change
21
          Jury Selection                                             November 4                    No change
22
          Trial Begins                                               November 7                    No change
23

24
               2.     In the matter of Cheyenne and Arapaho Tribes of Oklahoma v. Juul Labs, Inc. et al., Case
25
     No. 3:21-cv-05134, the parties agree to extend Plaintiff’s time to oppose JLI’s motion to dismiss, or to
26
     file an Amended Complaint, for 30 days from July 7, 2022 to August 8, 2022, and to extend the deadline
27
     for JLI to file a reply in support of the motion to dismiss from July 14, 2022 to August 15, 2022.
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 1          The parties therefore respectfully request that the Court enter an Order establishing the above
 2   deadlines.
 3

 4   Dated: July 6, 2022                               Respectfully submitted,
 5                                                     By: /s/ David M. Bernick
 6                                                     David M. Bernick (pro hac vice)
                                                       Renee D. Smith (pro hac vice)
 7                                                     KIRKLAND & ELLIS LLP
                                                       300 N. LaSalle
 8                                                     Chicago, IL 60654
                                                       Telephone: (312) 862-231
 9

10                                                     By: /s/ Peter A. Farrell
                                                       Peter A. Farrell (pro hac vice)
11                                                     KIRKLAND & ELLIS LLP
                                                       1301 Pennsylvania Ave, N.W.
12                                                     Washington D.C. 2004
                                                       Telephone: (202) 389-5959
13

14                                                     Attorneys for Defendant Juul Labs, Inc.

15                                                     By: /s/ Beth A. Wilkinson
                                                       Beth A. Wilkinson (pro hac vice)
16                                                     Brian L. Stekloff (pro hac vice)
                                                       James M. Rosenthal (pro hac vice)
17                                                     Hayter L. Whitman (pro hac vice)
                                                       Matthew R. Skanchy (pro hac vice)
18
                                                       WILKINSON STEKLOFF LLP
19                                                     2001 M Street NW, 10th Floor
                                                       Washington, DC 20036
20                                                     Telephone: (202) 847-4000
                                                       bwilkinson@wilkinsonstekloff.com
21                                                     bstekloff@wilkinsonstekloff.com
                                                       jrosenthal@wilkinsonstekloff.com
22                                                     hwhitman@wilkinsonstekloff.com
                                                       mskanchy@@wilkinsonstekloff.com
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 1                                     Moira K. Penza (pro hac vice)
                                       WILKINSON STEKLOFF LLP
 2                                     130 West 42nd Street, 24th Floor
                                       New York, NY 10036
 3                                     Telephone: 212-294-8910
 4                                     mpenza@wilkinsonstekloff.com

 5                                     Attorneys for Defendants Altria Group, Inc.,
                                       Philip Morris USA Inc., Altria Client Services
 6                                     LLC, Altria Group Distribution Company, and Altria
                                       Enterprises LLC
 7
                                       By: /s/ Sarah R. London
 8                                     Sarah R. London
 9                                     LIEFF CABRASER HEIMANN & BERNSTEIN
                                       275 Battery Street, Fl. 29
10                                     San Francisco, CA 94111
                                       Telephone: (415) 956-1000
11                                     slondon@lchb.com

12                                     By: /s/ Dena C. Sharp
                                       Dena C. Sharp
13                                     GIRARD SHARP LLP
                                       601 California St., Suite 1400
14
                                       San Francisco, CA 94108
15                                     dsharp@girardsharp.com

16                                     By: /s/ Dean Kawamoto
                                       Dean Kawamoto
17                                     KELLER ROHRBACK L.L.P.
                                       1201 Third Ave., Ste. 3200
18                                     Seattle, WA 98101
                                       Telephone: (206) 623-1900
19                                     dkawamoto@kellerrohrback.com
20
                                       By: /s/ Ellen Relkin
21                                     Ellen Relkin
                                       WEITZ & LUXENBERG
22                                     700 Broadway
                                       New York, NY 10003
23                                     Telephone: (212) 558-5500
                                       erelkin@weitzlux.com
24
                                       Co-Lead Counsel for Plaintiffs
25

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 1                                  UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3                                       SAN FRANCISCO DIVISION
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     IN RE: JUUL LABS, INC., MARKETING,                    Case No. 19-md-02913-WHO
 5   SALES PRACTICES, AND PRODUCTS
     LIABILITY LITIGATION                                  ORDER TO AMEND SCHEDULE
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                                                           Judge:     Hon. William H. Orrick
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 8   San Francisco Unified School District v. Juul
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 9   Cheyenne and Arapaho Tribes of Oklahoma v.
     Juul Labs, Inc. et al., Case No. 3:21-cv-05134.
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11
            The Court hereby adopts the Parties’ stipulations regarding deadlines as follows:
12
            1.     In the matter of San Francisco Unified School District v. Juul Labs, Inc. et al., Case No.
13
     3:19-cv-08177, the following deadlines shall apply:
14
                           Event                        Current Deadline            Revised deadline
15
         Rebuttal reports to Dorn                                        July 28                August 11
16
         Close of expert discovery (Dorn)                              August 18               September 1
17
         MSJ and Daubert opening briefs                                 August 1                August 15
18       (SFUSD only)
19
         MSJ and Daubert oppositions (SFUSD                            August 29           September 12
20       only)

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22       MSJ/Daubert argument (SFUSD only)                      TBD by Court                    No change

23       Exchange of Civil Local Rule 16-                           September 26                No change
         10(b)(7)-(10) materials
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 1                          Event                        Current Deadline            Revised deadline
 2        Filing of Pretrial Conference Statement,        Opening: October 3                    No change
          Jury Instructions, Exhibit                   Opposition: October 10
 3        List/Objections, Deposition                      Reply: October 17
          Designations/Objections, Motions in
 4        limine
 5        Pre-trial Conference                                      October 24                  No change
 6        Jury Selection                                           November 4                   No change
 7        Trial Begins                                             November 7                   No change
 8
            2.      In the matter of Cheyenne and Arapaho Tribes of Oklahoma v. Juul Labs, Inc. et al., Case
 9
     No. 3:21-cv-05134, the deadline for the opposition to the motion to dismiss shall be extended for 30 days
10
     from July 7, 2022 to August 8, 2022, and the deadline for filing a reply in support of the motion to dismiss
11
     shall be extended from July 14, 2022 to August 15, 2022.
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14
     Date: July 6, 2022                                   _______________________________
15                                                        HONORABLE WILLIAM H. ORRICK
16                                                        United States District Judge

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                                                          6                          Case No. 3:19-md-02913-WHO
                Case 3:19-md-02913-WHO Document 3329 Filed 07/06/22 Page 7 of 7



 1                                          CERTIFICATE OF SERVICE
 2              I hereby certify that on July 6, 2022, I electronically filed the foregoing document with the Clerk
 3   of the Court using the CM/ECF system, which will automatically send notification of the filing to all
 4   counsel of record. I also caused a copy of the under-seal documents to be served via electronic mail on all
 5   parties.
 6
                                                      By: /s/ Renee D. Smith
 7

 8                                                    Renee D. Smith
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